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                         Exhibit 3
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From:                                               @epic.com>
Sent:                             Friday, June 28, 2024 3:13 PM
To:
Cc:
Subject:                          Inappropriate Disclosures to Integritort via Particle Health
Attachments:                      Q-7475908 Third-Party Privacy Risk Notification.pdf


Hi all,

I am including      as we had just discussed this earlier this week. You are receiving this email because Integritort may
have inappropriately taken patient records from your system. This is an update to the attached SPRE.

Particle Health recently acknowledged that one of Particle’s customers, Integritort, accessed patient records
inappropriately through Carequality. Integritort requested records falsely asserting they were providing treatment, but it
uses medical records to identify potential plaintiffs for class action lawsuits.

While we do not agree with Particle’s framing of the issue, we are pleased that after eight months of resistance they
have now acknowledged wrongdoing and have provided a contact for assisting you in your investigation.

Particle has agreed to provide details on patients whose data was released to Integritort by contacting
support@particlehealth.com. Particle also provided an Integritort contact, Robyn Sztyndor, at 786-395-1824.

As a reminder, in early October 2023, when Particle Health first attempted to connect Integritort to Carequality, Epic
and the Care Everywhere Governing Council raised concerns with Carequality and Particle Health leadership. The Council
determined that Integritort should not be able to access Epic community records claiming a treatment purpose through
Carequality. Epic then informed Particle that Integritort cannot query for Treatment purposes and offered alternative
connection options for non-treatment exchange.

In late March 2024, we learned that Particle Health had enabled Integritort to pull records from Epic customers anyway.
We immediately notified the Governing Council, who directed us to file a dispute with Carequality and suspend access to
data through Particle’s identity-masking gateway as outlined in the SPRE dated April 10.


The Carequality dispute process calls for a panel to review the dispute in detail. The panel met last week, and we are
awaiting Carequality’s decision.


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